                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA,                            )
                                                     )       Case No. 3:13-cr-153-1
         v.                                          )       Judge Aleta A. Trauger
                                                     )
DORIAN AYACHE,                                       )

                                       MEMORANDUM

         The defendant has filed a Motion to Dismiss Counts One through Nine (Docket No. 26),

to which the government filed a Response in opposition (Docket No. 28), and the defendant filed

a Reply (Docket No. 29). For the reasons stated herein, the Motion to Dismiss will granted.

                                        BACKGROUND

I.       Relevant Assumed Facts1

         Defendant Dorian Ayache owned and operated a business called “Three Angels Farms,”

which transported horses from auctions to a location in Texas. In January 2012 and again in June

2012, Three Angels Farms vehicles were involved in serious traffic accidents that killed some of

the horses being transported.2 The Federal Motor Carrier Safety Administration (“FMCSA”), a




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         For purposes of the Motion to Dismiss only, Ayache concedes that the court may assume
the veracity of factual allegations in the Indictment and statements in evidentiary records filed by
the parties. Ayache specifically reserves the right to contest these facts for all other purposes.
Accordingly, nothing in this opinion should be construed as a “finding of fact” on the merits.
Herein, the court discusses only the assumed facts pertinent to Ayache’s contention that, even
assuming all of the alleged facts to be true, certain counts against him do not articulate
misdemeanor crimes.
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         In the first incident, a driver fell asleep behind the wheel. In the second incident, the
horse trailer collapsed and split in half. In connection with both incidents, the Tennessee
Department of Safety identified multiple violations of federal law, including improper vehicle
maintenance, operating without a commercial driver’s license, and/or inadequate record-keeping.

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subagency of the United States Department of Transportation (“DOT”), inspected Three Angels

Farms following both incidents. On June 18, 2012, shortly after the second incident, an FMCSA

inspector declared three of Three Angels Farms’ four trucks out of service due to assorted

discrepancies. On June 22, 2012, an FMCSA inspector determined that Ayache had remedied the

three vehicle-related “out-of-service” violations.

       On June 28, 2012, the FMCSA issued an Imminent Hazard Operations Out of Service

Order (“First Imminent Hazard Order” or “First IHO”) to Ayache and Three Angels Farms. (See

Docket No. 26, Ex. A, First Imminent Hazard Order.) The First IHO stated that the FMCSA had

“uncovered widespread regulatory violations that demonstrate a continuing and flagrant disregard

for compliance” with applicable federal regulations. Among other things, the order stated that

Three Angels Farms (1) had failed to maintain vehicle inspection, repair, and maintenance

records, leading to an “alarmingly” poor vehicle inspection rating, (2) had a “disturbingly”

negative fatigued driving score relative to its drivers, (3) had failed to follow controlled substance

testing requirements for its drivers, and (4) had failed to follow driver qualification requirements.

Pending compliance with multiple safety and licensing directives, the First IHO ordered Ayache

and Three Angels Farms to cease all commercial operations, prohibited the operation of four

specific vehicles, and forbade Ayache from engaging in “any sale, lease, or other transfer of

equipment” without the written approval of a regional administrator. Essentially, the First IHO

completely shut down Three Angels Farms and precluded Ayache from operating or disposing of

the referenced commercial motor vehicles without express DOT authorization.3


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        Notably, Section VI of the First IHO informed Ayache that “[f]ailure to comply with the
provisions of this [Imminent Hazard] Order may subject Three Angels Farms to an action by the
United States Attorney . . . for equitable relief and punitive damages” – i.e., civil penalties. That

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       According to the Indictment (Docket No. 1), Ayache attempted to evade the restrictions

set forth in the First IHO by selling his trucks to co-defendant Theresa Vincent, assisting Vincent

in setting up a business that was essentially a “reincarnation” of Three Angels Farms under a

different name (“Terri’s Farms”), and by operating and/or causing to be operated the very trucks

subject to the First IHO. The FMCSA discovered this conduct and issued an additional imminent

hazard order (“Second Imminent Hazard Order” or “Second IHO”), which essentially extended

the terms of the First Imminent Hazard Order to Terri’s Farms and to the individuals (including

Ayache and Vincent) allegedly associated with the new enterprise. (See Docket No. 26, Ex. C,

Second Imminent Hazard Order.) The government alleges that, even after receiving the Second

IHO, Ayache continued to flout the FMCSA’s commands by selling one of the (effectively)

impounded trucks to third parties on two more occasions.

II.    The Motion to Dismiss

       On September 9, 2011, the government filed a twelve-count Indictment against Ayache

and Vincent. Counts One through Nine of the Indictment purport to charge Ayache with

misdemeanor offenses under 49 U.S.C. § 521(b)(6)(A) for violating certain restrictions in the

First and/or Second IHOs.4 Counts Ten through Twelve charge Ayache with additional offenses


section also informed Ayache that, if Three Angels Farms continued to engage in “proscribed
interstate or intrastate operations” after the effective date of the First IHO, it could result in
additional “civil penalties” pursuant to 49 C.F.R. Pt. 386, App. A, § IV(g). (First IHO at p. 10.)
Finally, this section added that, “[i]f violations are determined to be willful, criminal penalties
may be imposed, including but not limited to a fine of up to $25,000 or imprisonment for a term
not to exceed one year, or both. (49 U.S.C. § 521(b)(6)(A)).” (First IHO at pp. 10-11.) Finally,
Section VII of the IHO stated that “[p]enalty provisions for violations of Federal statutes and
regulations are separate and distinct from this Order.” (First IHO at p. 10.)
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         Counts 1 through 4 charge Ayache with operating trucks or causing them to be operated
in violation of the First and/or Second IHO prohibition on their operation; Counts 5 through 9
charge him with selling trucks in violation of the First and/or Second IHO prohibition on their

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that Ayache’s Motion to Dismiss does not challenge.5

       Ayache argues that Counts One through Nine should be dismissed for the following

reasons:

       (1)     Violating the terms of an IHO is not a misdemeanor offense;

       (2)     Even if violating an IHO constitutes a misdemeanor offense, the DOT
               overstepped its statutory authority by effectively impounding Ayache’s
               vehicles and restricting his ability to sell them without following the
               procedures set forth in 49 U.S.C. § 521(b)(15)(C);

       (3)     Even if the DOT could have issued a “no sale” order, the First IHO
               exceeded the DOT’s statutory and regulatory authorization to impose
               restrictions no broader than those “required to abate the hazard” under 49
               U.S.C. § 521(b)(5) and 49 C.F.R. § 386.72(b)(2). As to this last argument,
               Ayache requests an evidentiary hearing.

For the reasons stated herein, the court agrees with Ayache that, as a matter of law, violating an

IHO is not a misdemeanor offense. Therefore, the court will only address Ayache’s first

argument, the court expresses no opinion concerning Ayache’s two alternative arguments, and no

evidentiary hearing with respect to the “abatement” issue is necessary.

                             MOTION TO DISMISS STANDARD

       Motions to dismiss are governed by Rule 12 of the Federal Rules of Criminal Procedure,

which permits pretrial consideration of any defense “the court can determine without a trial of the

general issue.” Fed. R. Crim. P. 12(b)(2). This includes a motion alleging a defect in the

indictment for failure to state an offense. Fed. R. Civ. P. 12(b)(3)(B).


sale without DOT authorization.
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         Count 10 charges Ayache with conspiracy to defraud the United States in violation of 18
U.S.C. § 371; Count 11 charges Ayache with attempting to destroy evidence intended for use in
the grand jury proceeding against him (namely, emails within his Yahoo! account), in violation of
18 U.S.C. § 1512(c)(1); and Count 12 charges Ayache with attempting to conceal his emails from
use in the grand jury proceeding against him, in violation of 18 U.S.C. § 1512(c)(1).

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                                             ANALYSIS

I.       Whether Violating an IHO Constitutes a Misdemeanor Offense Under 49 U.S.C. §
         521(b)(6)(A).

         A.     Introduction

         Here, the parties do not dispute any factual issues. Instead, they raise a purely legal

question: does violating an IHO constitute a misdemeanor crime under 49 U.S.C. § 521(b)(6)(A)?

This appears to be a question of first impression in the federal courts.

         As an initial matter, “[o]ne may be subjected to punishment for crime in the federal courts

only for the commission or omission of any act defined by a statute, or by regulation having

legislative authority, and then only if punishment is authorized by Congress.” Viereck v. United

States, 318 U.S. 236, 241 (1943). “Where the charge is of crime [sic], it must have clear

legislative basis.” United States v. George, 228 U.S. 14, 22 (1913).

         Here, in order to determine whether Congress made the violation of a § 521(b)(5) IHO a

misdemeanor offense, the court must undertake a careful analysis of the interlocking statutes and

regulations relating to commercial motor vehicle safety standards, licensing standards, and IHOs.

         B.     Statutory Framework for Commercial Motor Vehicle Safety Standards,
                Licensing Standards, and IHOs.

                1.      Commercial Motor Vehicle Safety and Licensing Standards

                        a.      Laws and Regulations Relating to Commercial Vehicle Safety

         Subtitle VI of Title 49 relates to “Motor Vehicle and Driver Programs.” Chapter 311 of

Part B of that subtitle contains laws relating to “Commercial Motor Vehicle Safety.” Subchapter

III of Chapter 311 (i.e., Subchapter III of the laws concerning Commercial Motor Vehicle Safety)




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contains laws relating to the “Safety Regulation” of commercial motor vehicles.6 Sections 31131

through 31151 comprise Subchapter III.7 The court will hereinafter refer to Subchapter III

(excepting §§ 31138 and 31139) and 49 U.S.C. § 31502 collectively as “Safety Laws.”

       In 49 U.S.C. § 31136(a) – a provision within Subchapter III of Chapter 311 – Congress

authorized the Secretary of Transportation (the “Secretary”) to “prescribe regulations on

commercial motor vehicle safety” relating to “minimum safety standards for commercial motor

vehicles,” including regulations ensuring that “commercial motor vehicles are maintained,

equipped, loaded, and operated safely” and that “the responsibilities imposed on operators of

commercial motor vehicles do not impair their ability to operate the vehicles safely.” See 49

U.S.C. § 31136(a)(1)-(2). The court will refer to these regulations as “Safety Regulations.”

                       b.      Laws and Regulations Relating to Licensing

       In 49 U.S.C. §§ 31302 to 31305, Congress imposed requirements relating to the licensing

and fitness of commercial motor vehicle drivers, including, inter alia, requiring drivers to possess

a commercial driver’s license, requiring drivers to notify their employer of any traffic violations,

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         Sections 31138 and 31139 relate to minimum “financial responsibility” coverage for the
transportation of passengers (§ 31138) or property (§ 31139) in certain types of commercial
motor vehicles. Although §§ 31138 and 31139 fall within Subchapter III of Chapter 311, the
relevant civil and criminal penalty provisions of 49 U.S.C. § 521(b) at issue here (as discussed
herein) specifically exclude §§ 31138 and 31139 from their coverage. For purposes of simplicity
within this opinion, the court will similarly exclude §§ 31138 and 31139 from its definitions of
statutes and regulations relating to commercial motor vehicle “safety.”
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         Chapter 315 of Part B of Subtitle VI, codified at 49 U.S.C. §§ 31501-31504, contains
additional laws relating to “Motor Carrier Safety.” Section 31502 contains requirements relating
to the qualifications, hours of service, and equipment standards for motor carriers, including
authorization for the Secretary to impose regulations relating to those issues. See 49 U.S.C. §
31502(b). As discussed herein, the relevant provisions of 49 U.S.C. § 521(b) at issue here
address both Subchapter III (excepting §§ 31138 and 31139) and § 31502 together as laws
relating to motor vehicle “safety.” Section 31502 otherwise has no bearing on the legal
questions presented here.

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and imposing record-keeping requirements on the drivers’ employers. See generally id. at §§

31303-04. The court will refer to these statutory provisions as the “Licensing Laws.” In § 31305

of the Licensing Laws, Congress authorized the DOT to pass regulations implementing the

Licensing Laws, including minimum standards for vehicle testing and fitness. The court will

refer to these regulations as “Licensing Regulations.”8

       In sum, Congress enacted Safety and Licensing Laws and gave the DOT authority to

promulgate Safety and Licensing Regulations to implement them.

               2.      Statutory Provisions (Within 49 U.S.C. § 521(b)) Relating to Violations of
                       Motor Vehicle Safety and Licensing Regulations

       As set forth in 49 U.S.C. § 521, people who violate commercial motor vehicle Safety

Regulations and/or Licensing Regulations can face both civil and criminal penalties. As the court

construes § 521, the penalties are as follows:

       •       Civil Penalties: (1) Under § 521(b)(2)(A), someone who violates a Safety
               Regulation faces civil monetary penalties up to $10,000 per violation;9
               and, (2) under § 521(b)(2)(C), someone who violates a Licensing




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         Title 49 U.S.C. § 31310 articulates “disqualifications” for commercial motor vehicle
drivers (e.g., driving while intoxicated). Subpart (g)(1)(A) of § 31310 directs the Secretary to
issue regulations providing for the disqualification of a commercial driver who commits “a
serious offense involving a motor vehicle (other than a commercial motor vehicle) that resulted
in the revocation, cancellation, or suspension of the individual’s license.” In the relevant penalty
provisions within 49 U.S.C. § 521(b) discussed herein, the licensing-related provisions impose
penalties for violating both the Licensing Regulations and/or regulations issued pursuant to §
31310(g)(1)(A). For purposes of simplicity only, the court’s definition of “Licensing
Regulations” includes § 31310(g)(1)(A).
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        Section 521(b)(2)(A) reads as follows: “[A]ny person who is determined by the
Secretary, after notice and opportunity for a hearing, to have committed an act that is a violation
of regulations issued by the Secretary under subchapter III of chapter 311 (except sections 31138
and 31139) or section 31502 of this title [i.e., the Safety Regulations] shall be liable to the
United States for a civil penalty in an amount not to exceed $10,000 for each offense.”

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               Regulation faces civil penalties up to $2,500 per violation.10

       •       Criminal Penalties: (1) Under § 521(b)(6)(A), someone who knowingly
               and willfully violates a Safety Regulation faces a fine of up to $25,000
               and/or imprisonment for one year – a Class A misdemeanor;11 and (2)
               under § 521(b)(6)(B), someone who knowingly and willfully violates a
               Licensing Regulation faces a maximum fine of $5,000 and/or a maximum
               of 90 days of imprisonment – a Class B misdemeanor.12

In sum, an individual who violates a Safety Regulation (i.e., a regulation issued under a Safety

Law) or a Licensing Regulation (i.e., a regulation issued a Licensing Law) faces both civil and

criminal misdemeanor penalties.

                       3.      Statutory Provisions (Within 49 U.S.C. § 521(b)) Relating to
                               Violations of Imminent Hazard Orders

       Section 521 also includes a third type of remedy available to the Secretary: under §

521(b)(5), if the Secretary finds that a violation (or combination of violations) of the Safety and

Licensing Laws or Regulations imposes an “imminent hazard to safety,” the Secretary “shall

order a vehicle or employee operating such vehicle out of service, or order an employer to cease



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          Section 521(b)(2)(C) reads as follows: “Any person who is determined by the Secretary,
after notice and opportunity for a hearing, to have committed an act which is a violation of
section 31302, 31303, 31304, 31305(b) or 31310(g)(1)(A) [i.e., the Licensing Laws] shall be
liable to the United States for a civil penalty not to exceed $2,500 for each offense.”
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          Section 521(b)(2)(A) reads as follows: “Any person who knowingly and willfully
violates any provision of subchapter III of chapter 311 (except sections 31138 and 31139) or
section 31502 of this title [i.e., the Safety Laws], or a regulation issued under any of those
provisions [i.e., the Safety Regulations] shall, upon conviction, be subject for each offense to a
fine not exceed $25,000 or imprisonment for a term not to exceed one year . . . .” (emphasis
added).
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           In relevant part, Section 521(b)(6)(B) reads as follows: “Any person who knowingly
and willfully violates – (i) any provision of section 31302, 31303(b) or (c), 31304, 31305(b), or
31310(g)(1)(A) of this title [i.e., the Licensing Laws] or a regulation issued under such section
[i.e., the Licensing Regulations], . . . shall, upon conviction, be subject for each offense to a fine
not to exceed $5,000 or imprisonment for a term not to exceed 90 days.”

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all or part of the employer’s commercial motor vehicle operations.” See id. at § 521(b)(5)(A).13

When the Secretary issues an “imminent hazard” order under § 521(b)(5), the Secretary may not

impose a “restriction . . . beyond that required to abate the hazard.” Id. at § 521(b)(5)(A). The

court will refer to an IHO issued under 49 U.S.C. § 521(b)(5) as a “§ 521(b)(5) IHO.”

Furthermore, an individual subject to a § 521(b)(5) IHO has the right to expedited administrative

review of the order within 10 days. See id. § 521(b)(5)(A) (incorporating the administrative

review procedures set forth in 5 U.S.C. § 554).

       Section 521(b)(2)(F), entitled “Penalty for violations relating to out of service orders,”

provides that anyone who violates “an imminent hazard out of service order issued under

subsection (b)(5) of this section” is liable for a civil penalty of up to $25,000. Although Section

521 contains this civil penalty provision for violation a § 521(b)(5) IHO, § 521 does not contain a

corresponding criminal misdemeanor penalty provision. That is, although Congress imposed stiff

civil penalties (set forth in § 521(b)(5)(F)) for someone who violates a § 521(b)(5) IHO,

Congress did not include a provision making it a misdemeanor crime to violate this type of an

IHO.

       Finally, 49 U.S.C. § 526 – entitled “General criminal penalty when specific penalty not

provided” – states that, “[w]hen another criminal penalty is not provided under a provision of

this chapter, . . . a person that knowingly and willfully violates any of those provisions or a

regulation or order of the Secretary of Transportation under any of those provisions, . . . shall be

fined at least $100 but more than $500 for the first violation and at least $200 but not more than


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         Section § 521(b)(5)(B) defines “imminent hazard” to mean “any condition of a vehicle,
employee, or commercial motor vehicle operations which substantially increases the likelihood
of serious injury or death if not discontinued immediately.”

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$500 for a subsequent violation. A separate violation occurs each day the violation continues.”

49 U.S.C. § 526 (emphasis added). As Ayache points out, there is a colorable argument that §

526 makes it a “petty offense” to violate a § 521(b)(5) IHO, which may constitute an “order”

issued by the Secretary for purposes of § 526. Here, the government has charged Ayache only

with Class A misdemeanors under § 521(b)(6)(A) for violating the First and Second IHOs, not

with petty offenses under § 526. Therefore, the court need not make any findings about the

applicability of § 526 to Ayache.

                       4.      Harmonized Construction of the Penalties Set Forth in § 521(b).

       In determining statutory meaning, the court starts, “as always, with the language of the

statute.” Dean v. United States, 556 U.S. 568, 572 (2009). The court must “ordinarily resist

reading words or elements into the statute that do not appear on its face.” Bates v. United States,

522 U.S. 23, 29 (1997). Furthermore, under the doctrine of expressio unius est exclusio alterius,

“where Congress includes particular language in one section of a statute but omits it in another

section of the same Act, it is generally presumed that Congress acts intentionally and purposely

in the disparate inclusion or exclusion.” Dean, 556 U.S. at 573 (citing Russello v. United States,

464 U.S. 16, 23 (1983)). Finally, the court “must read statutes to give effect to each [statute] if it

can do so while preserving their sense and purpose.” Watt v. Alaska, 451 U.S. 259, 267 (1981).

       Here, the canons of statutory instruction compel a finding that § 521(b) does not on its

face make violating a § 521(b)(5) IHO a misdemeanor offense. As described in the preceding

analysis, § 521 contains provisions specific to Safety Regulations, Licensing Regulations, and

IHO, establishing the following penalty structure:

       •       Safety Regulation violation: civil penalties (under § 521(b)(2)(A)) and
               criminal misdemeanor penalties (under 521(b)(6)(A)).

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       •       Licensing Regulation Violation: civil penalties (under §§ 521(b)(2)(C))
               and criminal misdemeanor penalties (under § 521(b)(6)(B)); and

       •       Violation of a § 521(b)(5) IHO: Only civil penalties under § 521(b)(2)(F)).

Given that the statute contains specific provisions authorizing both civil and criminal penalties

for Safety Regulations and Licensing Regulations, but contains a separate specific provision

authorizing only civil penalties for violating an IHO, the court must conclude that Congress

intentionally and purposely declined to include an associated criminal misdemeanor provision for

violating a § 521(b)(5) IHO. Indeed, the inclusion of the catch-all petty offense provision in §

526 demonstrates that Congress recognized that the violation of certain “orders” of the Secretary

were not otherwise punishable as a criminal offense.

       In sum, under a straightforward reading of the statute, 49 U.S.C. § 521 affords the

Secretary the following remedies against individuals who violate Safety and/or Licensing

Regulations: (1) to provide immediate protection to the public, the Secretary can issue a narrowly

tailored IHO to restrain the violator from causing an imminent danger, which order is subject to

expedited administrative review; (2) the Secretary can pursue civil penalties for violations of the

Safety and/or Licensing Regulations; and/or (3) the Secretary can enlist the Attorney General to

bring criminal proceedings against individuals who knowingly and willfully violated the Safety

and/or Licensing Regulations.

       As Ayache persuasively argues, from a policy perspective, there are valid reasons why

Congress may have chosen not to make violating a § 521(b)(5) IHO a misdemeanor criminal

offense. Before becoming law, the Safety and Licensing Laws and Regulations were subject to

legislative or quasi-legislative processes (i.e., formal rulemaking after the requisite notice and



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comment period). By contrast, § 521(b)(5) IHOs reflect a short-term ad hoc decree by an

administrator, without the checks imposed by the public procedural safeguards of a legislative or

quasi-legislative process.

       Moreover, Congress’s authorization to the DOT to issue § 521(b)(5) IHOs was not

without teeth: Congress authorized the Secretary to pursue stiff civil penalties (up to $25,000 per

violation) against individuals who violate a § 521(b)(5) IHO. Furthermore, through the catch-all

provision in § 526, Congress also may have authorized criminal fines (but not imprisonment) for

individuals who violate § 521(b)(5) IHOs. Thus, even if violating an IHO does not constitute a

misdemeanor, the Secretary can punish offenders and deter others through the civil remedies set

forth in § 521(b)(2)(F) and, perhaps, through the assessment of additional fines in a criminal

proceeding.

III.   The Government’s Position: The DOT Created a Misdemeanor Offense for
       Violating an IHO.

       The government argues that, notwithstanding a straightforward construction of 49 U.S.C.

§ 521, Ayache nevertheless committed a Class A misdemeanor offense under § 521(b)(6)(A)

when he violated the First and Second IHOs. In 49 C.F.R. § 386.72, the DOT essentially

duplicated the IHO provisions set forth by Congress in 49 U.S.C. § 521(b)(5). The government

argues that this particular regulation was promulgated “under” a Safety Law – i.e., that it is a

Safety Regulation, the violation of which constitutes a misdemeanor offense under §

521(b)(6)(A). In response, Ayache argues that, regardless of how the DOT may have

characterized the basis for IHO provisions relating to commercial motor vehicles set forth in 49

U.S.C. § 386.72, the relevant portion of the regulation is not a “Safety Regulation” subject to the

criminal penalty provisions in § 521(b)(6). Instead, contends Ayache, the actual basis for the

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relevant provisions of the regulation is § 521(b)(5) – i.e., the subpart of § 521(b) that specifically

relates to IHOs. As explained herein, the court agrees with Ayache. See United States v. Saade,

652 F.2d 1126 (1st Cir. 1981) (determining that more specific statutory grant of regulatory

authorization legally authorized the regulation at issue, rather than a more general grant of

regulatory authority within the same subchapter of the federal code).

       A.      Regulatory History of 49 C.F.R. § 386.72

       The IHO provision in 49 U.S.C. § 521(b)(5) was enacted into law as Section 213(b) of the

Motor Carrier Safety Act of 1984 (“MSCA”). In 1985, the DOT promulgated 49 C.F.R. §

386.72, which purported to “implement” 49 U.S.C. § 521(b)(5). See Fed. Reg. 40304-01, 1985

WL 129686, 40305 (Oct. 2, 1985). In essence, the DOT simply reiterated the statutory

requirements for IHOs set forth in § 521(b)(5). At the time, the DOT did not purport to invoke

Subchapter III of Chapter 311 as the basis for the regulation.

       Effective August 2005, Congress passed the “Safe, Accountable, Flexible, Efficient

Transportation Equity Act” (“SAFETEA”). Among other things, SAFETEA added new

provisions to Subchapter III of Chapter 311 of Title 49 (i.e., the Safety Laws), including § 31151

(§ 4118(a) of SAFETEA), which addressed the new phenomenon of “intermodal equipment

providers.” See Pub. L. 109-59, Title IV, § 4118(a). The new § 31151 required the Secretary to

promulgate regulations “to ensure that intermodal equipment . . . is safe and systematically

maintained,” including, inter alia, a regulation setting forth “a prohibition on intermodal

equipment providers from placing intermodal equipment in service on the public highways to the

extent such providers or their equipment are found to pose an imminent hazard.” 49 U.S.C. §

31151(a)(3)(I).



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       In 2008, pursuant to the new statutory mandate in § 31151(a)(3)(I), the Secretary

amended 49 C.F.R. § 386.72 to include explicit references to IHOs related to intermodal

equipment providers. See generally 73 Fed. Reg. 76794-01 (Dec. 17, 2008). Thus, unlike the

pre-existing regulatory provisions relating to § 521(b)(5) IHOs, the 2008 revisions to the

regulation were made pursuant to a provision in Subchapter III, namely § 31151(a)(3)(I).

Presumably for that reason, the DOT invoked Subchapter III as grounds for the regulatory

revisions to 49 C.F.R. § 386.72 as they related to intermodal equipment providers.

       B.      Impact of Regulatory History on the Court’s Construction of 49 C.F.R. §
               386.72

       Here, the government argues that the DOT’s recent invocation of Subchapter III of

Chapter 311 as a basis for 49 C.F.R. § 386.72 shows that the regulation as a whole is a “Safety

Regulation” under Subchapter III of Chapter 311. However, as the court’s previous analysis

demonstrates, the relevant provisions of the current version of 49 C.F.R. § 386.72 (i.e.,

provisions other than those specific to intermodal equipment providers) all drew, and continue to

draw, their statutory authorization from § 521(b)(5), not the Safety Laws.

       The current version of the regulation itself confirms the court’s construction: multiple

provisions of the regulation continue to refer back to § 521(b)(5) as the source of authority.14

Furthermore, part (b)(6) of the regulation indicates that violators face the civil penalties set forth




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        See 49 C.F.R. §§ 386.72(b)(1)(ii) (providing for issuance of “out-of-service” orders “as
provided by 49 U.S.C. § 521(b)(5)”) (emphasis added) and 386.72(b)(4) (stating that the subject
of an IHO shall “comply immediately,” but providing for expedited administrative review “as
provided by section 213(b) of the Motor Carrier Safety Act of 1984, (49 U.S.C. § 521(b)(5))
(emphasis added).

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in “Subpart G” (i.e., 49 C.F.R. §§ 386.81 through 386.84),15 which incorporates a schedule of

civil fines specifically related to violations of “Out-of-Service Order[s].” See 49 C.F.R. Pt. 386,

App A., Penalty Schedule; Violations of Notices and Orders, Part IV.16

       Finally, the court observes that Section 31136 authorized the Secretary to promulgate

“safety standards.” From a practical perspective, a § 521(b)(5) IHO is not itself a “safety

standard” – rather, it is a mechanism for enforcing such a standard.

       In sum, for these reasons, the court does not construe the relevant IHO provisions in 49

C.F.R. § 386.72 as “Safety Regulations.” Because those provisions are not Safety Regulations,

they do not fall within the ambit of a violation of § 521(b)(6)(A).

       C.      Additional Reasons Not to Construe 49 C.F.R. § 386.72 as a “Safety
               Regulation”

       If the court were to construe the relevant portions of 49 C.F.R. § 386.72 as “Safety

Regulations,” it would create internal inconsistencies within § 521.

       First, as discussed above, the statute itself indicates that Congress only authorized civil



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          See 49 C.F.R. §§ 386.81 (stating that “[t]he amounts of civil penalties that can be
assessed for regulatory violations subject to the proceedings in this subchapter are established in
the statutes granting enforcement powers”) (emphasis added) and 386.82(a)(4) (providing
“[a]dditional civil penalties for violations of notices and orders which are issued under civil
forfeiture proceedings pursuant to 49 U.S.C. § 521(b),” including notices and orders related to
“out-of-service” orders under 49 C.F.R. § 386.72(b)(1) (emphasis added)).
       16
          For example, consistent with the $25,000 per violation maximum authorized by
Congress in § 521(b)(2)(F) [i.e., the civil penalty provision specific to violations of § 521(b)(5)
IHOs], Appendix A to Subpart G penalizes IHO violators as follows: (1) up to $2,100 per
violation for operating a motor vehicle during the period during which the vehicle was placed out
of service (App. A, Part IV.a), (2) up to $16,000 per violation against a motor carrier that permits
a driver to operate a commercial vehicle during the period in which the driver was placed out of
service (id., Part IV.b); and (3) up to $16,000 per violation for permitting, before required repairs
are made, the operation of a commercial motor vehicle placed out-of-service for repairs (id., Part
IV. d).

                                                 15


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penalties for violations of a § 521(b)(5) IHO. Thus, a construction of the relevant portions of 49

C.F.R. § 386.72 as Safety Regulations would essentially require the court to read back into the

statute a criminal penalty that Congress intentionally did not include. There is no reason for the

court to construe the DOT as effectively creating a misdemeanor offense (via § 521(b)(6)(A))

that Congress, by omission, did not authorize.

       Second, if the court were to construe the relevant portions of 49 C.F.R. § 386.72 as Safety

Regulations, it would mean that a violation of § 386.72 would subject the violator to civil

penalties under both § 521(b)(2)(A) (providing civil penalties for violating Safety Regulations)

and § 521(b)(2)(F) (providing civil penalties for violating § 521(b)(5) IHOs). Those two civil

penalty provisions are materially different: § 521(b)(2)(A) caps civil penalties for violating

Safety Regulations at $10,000 per violation, whereas § 521(b)(2)(F) caps civil penalties for

violating § 521(b)(5) IHOs at $25,000 per violation. Thus, to the extent that the DOT has

promulgated a schedule of fines for violating § 521(b)(5) IHOs that includes fines over $10,000 –

which the DOT has (see Appendix A to 49 C.F.R. § 386, at Part IV) – those fines would violate §

521(b)(2)(A) under the position advanced by the government here. The court finds no reason to

read such an inconsistency into § 521 in violation of traditional standards of statutory

construction, which counsel the court to read provisions in harmony to the extent possible.

       Coming back to the issue presented, Counts One through Nine charge Ayache with Class

A misdemeanors under § 521(b)(6)(A) for violating the First and Second IHOs. However, for the

reasons explained herein, Congress did not make violating a § 521(b)(5) IHO a misdemeanor

offense. Accordingly, Counts One through Nine of the Indictment against Ayache must be

dismissed.



                                                 16


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                                          CONCLUSION

       For the reasons stated herein, the Motion to Dismiss will granted and Counts One

through Nine against Ayache will be dismissed.

       An appropriate order will enter.


                                                   ______________________________
                                                   ALETA A. TRAUGER
                                                   United States District Judge




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